Case 3:12-cv-02200-IEG-RBB Document 16 Filed 01/15/13 PageID.84 Page 1 of 1



 1
 2
 3
 4
 5
 6                             UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8
      ANTHONY FEHRENBACH,                                         CASE NO. 12-CV-2200-IEG (RBB)
 9
                                              Plaintiff,          ORDER GRANTING JOINT
10                                                                MOTION TO DISMISS
              vs.
11                                                                [Doc. No. 15]
      THE CBE GROUP, INC.,
12
                                            Defendant.
13
14           Before the Court is the parties’ joint motion to dismiss the action in its entirety with
15   prejudice. [Doc. No. 15.] Pursuant to Federal Rule of Civil Procedure 41 and for good cause
16   shown, the Court GRANTS the joint motion and DISMISSES the action with prejudice. The
17   clerk is directed to close the case.
18           IT IS SO ORDERED.
19   DATED:         January 15, 2013                   ______________________________
20                                                     IRMA E. GONZALEZ
                                                       United States District Judge
21
22
23
24
25
26
27
28


                                                           -1-                                          12cv2200
